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                           EXHIBIT B

   Direction to Mexican District Attorney Requiring Submissions
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              Certified Translation (English)
          [Logo of the JUDICIARY    SUPERIOR
                       Case 22-10630-JTD        COURT
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                                                                                           “2022,3Year
                                                                                                   of 7of Ricardo Flores Magón,
          BRANCH OF MEXICO CITY]                                                            Forerunner of the Mexican Revolution”
                                         OF JUSTICE
                                                                                  52nd Court for Civil Matters of CDMX
                                                                                                        Court Clerk “A”
                                                                                                         File: 691/2022
                                                                           Official communication number: 2534/2022

                                                                                                    Mexico City, July 5, 2022

          MIRIAM ANGÉLICA MONROY GONZALEZ, ATTORNEY-AT-LAW-AND/OR
          PUBLIC PROSECUTOR ASSIGNED
          TO THIS COURT
                                                                                    [Stamped seal reading:]
                                                               “[Logo of the General Attorney’s Office of the Federal District]
                                                             GENERAL ATTORNEY’S OFFICE OF THE FEDERAL DISTRICT
                                                             DISTRICT ATTORNEY’S OFFICE OF TRIALS IN CIVIL COURTS
                                                                               2nd OFFICE OF PROCESSES
                                                                                        FIRST UNIT”
                                                                                         [Signature]
                                                                              [Handwritten inscription reading:]
                                                                                    “July-5-202[illegible]”

          In compliance with the provisions of court order dated June thirty, two thousand
          twenty-two, entered on court records of the SPECIAL COMMERCIAL Action, filed
          by ROMANOS BERRONDO ÁNGEL FRANCISCO against CRÉDITO REAL,
          SOCIEDAD ANÓNIMA BURSÁTIL DE CAPITAL VARIABLE, SOCIEDAD
          FINANCIERA DE OBJETO MÚLTIPLE, ENTIDAD NO REGULADA, I hereby remit to
          you this communication to determine, at your opinion, if the assumptions provided in articles 10 or 11 of
          the Bankruptcy Law [Ley de Concursos Mercantiles] were violated; and if so, to inform this Court and
          proceed according to the provisions of article 21 of the bankruptcy law; articles which for a better
          comprehension are hereinbelow transcribed:

          “Article 10.- For the purposes of this Law, a Merchant’s generalized default of his payment obligations
          to which Article 9 refers is the default of the Merchant’s payment obligations to two or more different
          creditors, and the following events take place:

          ‘I. That out of the overdue obligations to which the preceding paragraph refers, those having matured for
          at least thirty days account for thirty-five percent or more of all of the Merchant’s obligations as of the
          date of which the demand or application for reorganization; and

          ‘II. The Merchant has no assets of those listed in the following paragraph, to pay for at least eighty
          percent of his overdue obligations as of the date of the demand.

          ‘The following are the assets that must be taken into consideration for the purposes of Section II of this
          Article:

          ‘a) Cash on hand and demand deposits;

          ‘b) Term deposits and investments maturing in no more than ninety calendar days following the date on
          which the demand is admitted;

          ‘c) Customers and accounts receivable maturing in no more than ninety calendar days following the
          admission date of the demand for declaration; and

          ‘d) Securities for which purchase and sale transactions are regularly carried out in the relevant, that can
          be realized within a maximum thirty-banking-day term, and whose values as of the demand filing date is
          known.

 [Stamped seal reading:]
 SUPERIOR COURT OF
 JUSTICE OF MEXICO                 Calle Doctor Claudio Bernard No. 60, Quinto Piso, Colonia Doctores,
        CITY                               Alcaldía Cuauhtémoc, Ciudad de México, C.P. 06720
FIFTY-SECOND COURT                                                                                                    [Código QR]
 FOR CIVIL MATTERS
          [Logo of the JUDICIARY    SUPERIOR
                       Case 22-10630-JTD        COURT
                                         Doc 43-2 Filed 08/25/22                                              Page
                                                                                                               “2022,4Year
                                                                                                                       of 7of Ricardo Flores Magón,
          BRANCH OF MEXICO CITY]                                                                                 Forerunner of the Mexican Revolution”
                                                     OF JUSTICE
          ‘The inspector’s report and the opinions of experts, if any, offered by the parties must expressly deal
          with the issues listed in the above Sections.”

          “Article 11.- A Merchant shall be presumed to have generally defaulted his payment obligations in any
          of the following events:

          ‘I. The non-existence or insufficiency of properties upon which to perform a seizure due to the default of
          an obligation or upon attempting to enforce a judgment issued and having effect of res judicata;

          ‘II. The default in the payment of obligations to two or more different creditors;

          ‘III. The hiding or absence, without appointing someone to manage or run his enterprise who can comply
          with his obligations;

          ‘IV. In the same circumstances mentioned in the preceding Section, the shutdown of his enterprise’s
          facilities;

          ‘V. Resorting to ruinous, fraudulent or fictitious practices to attend to or cease fulfilling his obligations;

          ‘VI. The default of monetary obligations under an agreement executed pursuant to Title Fifth of his Act;
          and

          ‘VII. In any other analogous events.

          “Article 21.- Any Merchant creditor or the Public Prosecutor may demand a business reorganization
          declaration.

          ‘If throughout the processing of a commercial lawsuit a judge detects that a Merchant falls in any of the
          events listed in Article 10 or 11 of this Law, he will by operation of law so advise the competent tax
          authorities and the Public Prosecutor so that the latter, if popper, file a demand for business
          reorganization declaration. The tax authorities shall only demand a Merchant’s business reorganization
          for any taxes owing to them.

          Likewise, one or more of the Merchant’s creditors may request the bankruptcy be declared by
          commencing directly in the bankruptcy stage. In the event the Merchant accepts the remedy sought in
          the filed complaint and prior to the opinion on the generalized failure to pay the Merchant’s liability, the
          judge will enter, if applicable, the bankruptcy judgement in the bankruptcy stage.

          ‘Should the Merchant fail to agree to the demand referred to in the paragraph above, the bankruptcy
          proceeding will commence in the conciliation stage, which will be pursued under the terms of this Law.”

                     I remain.
                          General Ruling 36-48/2012 issued in the session held on November twenty, two thousand twelve, providing the
                         guidelines for the pilot program to delegate certain legal administrative functions to the Conciliation Court Clerks
                           appointed to the Courts for Civil Matters of Mexico City … Chapter ii.- Powers of Court Clerks.- Conciliators


                                                    [Signed]
                               GERARDO ULISES GUERRERO BAUTISTA, ATTORNEY-AT-LAW

          I, ZULUEM JULIETA GARCÍA PACHECO, Expert Translator authorized by the Tribunal Superior de Justicia de la Ciudad de México [Superior
          Court of Justice of Mexico City], pursuant to the ruling published in the Boletín Judicial [Court Bulletin] on March 8, 2021, hereby attest that the
          preceding translation from Spanish language contained in two (2) page is, at the best of my knowledge, true, complete and correct.

          Zuluem Julieta García Pacheco
          Mexico City, Federal District, July 25, 2022
          Phone: (52) (55) 52 19 68 95
          E-mail: zuluemgp@prodigy.net.mx
 [Stamped seal reading:]
 SUPERIOR COURT OF
 JUSTICE OF MEXICO                           Calle Doctor Claudio Bernard No. 60, Quinto Piso, Colonia Doctores,
        CITY                                         Alcaldía Cuauhtémoc, Ciudad de México, C.P. 06720
FIFTY-SECOND COURT                                                                                                                              [Código QR]
 FOR CIVIL MATTERS
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